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UNITED STATES DISTRICT COURT FILED
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
2018 FEB 21 PM I2: 16
UNITED STATES OF AMERICA CLEP =
MIDDLE ne : or oF AO

v. Case No. 2:18-cr-19-FtN38CW SF ‘oa ORiDA
JANE DOE Under Seal

NOTICE OF DISCOVERY

COMES NOW, the United States of America, by and through its undersigned
Assistant United States Attorney, and pursuant to the Criminal Scheduling Order,
hereby gives notice to the Court that it has provided the attached discovery to
defense counsel on February 21, 2018.

Respectfully submitted,

MARIA CHAPA LOPEZ
United States Attorney

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igi AT
effrey F. Michelland

Assistant United States Attorney

USA No. 024

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U.S. v. Jane Doe Case No. 2:18-cr-19-FtM-38CM

CERTIFICATE OF SERVICE

I hereby certify that on February 21, 2018, I served a copy of the foregoing
Discovery, in person to counsel for the defendant, Russell K. Rosenthal, Assistant
Federal Defender, 1540 Broadway, Fort Myers, Florida.

Kip

Cyef ive ey F. Michelland
Assistant United States =
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2110 First Street, Suite 3-137 Pe . 300 N. Hogan Street, Suite 700
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239/461-2200 se a 904/301-6300
239/461-2219 (Fax) ey FS pl 904/301-6310 (Fax)
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. Serna” .
U.S. Department of Justice
35 SE Ist Avenue, Suite 300 United States Attorney 400 West Washington Street, Suite 3100
Ocala, Florida 34471 Middle District of Florida Orlando, Florida 32801
352/547-3600 ———_——_ 407/648-7500
352/547-3623 (Fax) Main Office 407/648-7643 (Fax)
400 North Tampa Street, Suite 3200
Tampa, Florida 33602
813/274-6000
813/274-6358 (Fax)
Reply to: Fort Myers, FL JFM

February 21, 2018

Russell K. Rosenthal, Esq.
Assistant Federal Defender
1514 Broadway, Suite 301
Fort Myers, FL 33901

Re: United States v. Jane Doe
Case No. 2:18-cr-19-FtM-38CM

Dear Mr. Rosenthal:

In response to the Criminal Scheduling Order, pursuant to Rule 16 of the
Federal Rules of Criminal Procedure, the discovery material is provided to you
through the Office of the United States Attorney's Office, Fort Myers, Florida. You
will be required to sign a receipt for the materials provided, which includes CDs
labeled “Discovery One” through “Discovery Nine.” The nine CD’s are described
as follows:

Meeting #1 PGPD 10-18-17 Interview

Meeting #2 Interview of Sheppard @ 421 Fitzhugh 10-19-17
Meeting #3 Audio of Retrieval of Computer 10-20-17
Meeting #4 Meeting with AS to Return Computer 10-24-17
Audio AS Arrest 2-5-18

Audio AS Arrest 2-5-18 (alternate)

Audio/Video AS Arrest 2-5-18

175 Documents

Discovery 1A’s — 80 Documents

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Additional materials and/or scientific results will come into the possession
and control of the United States which are discoverable under Rule 16 and the local
standing Criminal Scheduling Order. We recognize our continuing duty to disclose
and will notify you promptly if such an event occurs. This response is numbered to
correspond to the Criminal Scheduling Order.

I. B. Oral statements made by the defendant in response to interrogation by a
person then known to him as a government agent and the substance of which the
government intends to use at trial. See Discovery Materials.

C. Written or recorded statements of the defendant. See Discovery
Materials.

D. Prior criminal record. To be provided.

E. Documents and Tangible Objects. See Discovery Materials. Items
available for your inspection. Additional materials to be provided upon receipt.

F. Reports of examinations and tests. To be provided upon receipt.
G. Expert Witness. To be provided.

H. _ Electronic Surveillance. No Title III surveillance. Consensual
monitoring was used in the investigation.

I. Rule 404(b) evidence. To be provided.

J. Confidential informant(s). A confidential informant(s) was utilized
during the course of the investigation.

K. Conflict of interest. The government is not aware of any potential
conflict of interest in the representation of the defendant by counsel.

L. Photo identification. None.

M. Evidence was seized by search warrant. You have previously been
provided with the residence and Facebook search warrants, applications and
affidavits.

Q. The government hereby requests, to the extent required by Fed. R.
Crim. P. 16(b)(1)(A), to inspect and copy or photograph books, papers, documents,
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photographs, and tangible objects which are within the possession, custody or
control of the defendant, and which the defendant intends to introduce as evidence in
chief at trial. Please inform the government of the existence of any such items.

R. | The government hereby requests, to the extent required by Fed. R.
Crim. P. 16(b)(1)(B), to inspect and copy or photograph any results or reports of
physical or mental examinations, and of scientific tests or experiments, which are
within the possession, custody or control of the defendant, and which the defendant
intends to introduce as evidence in chief at trial, or which were prepared by a witness
whom the defendant intends to call at the trial when the results or reports relate to
the witness’ testimony. Please inform the government of the existence of any such
items.

S. Reciprocal Discovery of Expert Witnesses. Since this Pretrial
Discovery Order requires the government to disclose a summary of any expert
witness testimony without a request for such disclosure by the defendant under Fed.
R. Evid. R. 16(a)(1)(E), a circumstance required by Rule 16(b)(1)(C)(D, the
government construes this to mean that a request from the defendant for disclosure
under Rule16(a)(1)(E) is not required before the government may request reciprocal
discovery of defense expert witnesses. Therefore, the government requests disclosure
of a written summary as described in the Criminal Scheduling Order of any
testimony and qualifications that the defendant intends to use under Fed. R. Evid.
702, 703, or 705 as evidence at trial.

T. | The government shall disclose any information or material which may
be favorable on the issue of guilt or punishment to the extent required by Brady v.
Maryland, 373 U.S. 83 (1963); United States v. Agurs, 427 U.S. 97 (1976); United States
v. Bagley, 473 U.S. 667 (1985); and Kyles v. Whitley, 514 U.S. 419 (1995).

U. The existence and substance of any payments, promises of immunity,
leniency, preferential treatment, or other inducements made to prospective
government witnesses, to the extent required by Giglio v. United States, 405 U.S. 150
(1972), and Napue v. Illinois, 360 U.S. 264 (1959), a record of prior convictions, and
any application to the court for immunity and any order issued in response to the
application for any witness shall be disclosed by this office no later than fourteen
days before the first day of the trial term in which this case is set for trial unless
disclosure of such information at this stage may endanger the safety of any
prospective witness or if such disclosure may result in threats against the witness. In
such a case, the government will make application to the court for a modifying order
pursuant to Fed. R. Crim. P. 16(d)(1) allowing the government to disclose this
information at a later time.
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V. Jencks material (18 U.S.C. Section 3500) (if any) will be surrendered to
you the day before the trial unless there may be a danger to a witness. Then, it will
be provided the day the witness testifies. The Government likewise expects to
receive any and all reciprocal Jencks material. See Rule 26.2, Fed. R. Crim. P.

W. The government is aware of its continuing duty to disclose such newly
discovered additional evidence or material required by the Criminal Scheduling
Order, Rule 16(c) of the Federal Rules of Criminal Procedure, Brady, Giglio, Napue,
and the obligation to assure a fair trial.

To be effective and capable of being accepted, plea offers from the United
States must be in writing and contain all terms of the offer in a proposed written plea
agreement. Oral communications regarding a potential plea are merely preliminary
plea discussions and do not constitute a formal plea offer from the United States.

If you have any questions or wish to discuss a plea offer, please do not hesitate
to call us at our office.

Sincerely,

MARIA CHAPA LOPEZ
UnitedStates Attorney

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y F Michelland
Assistant United States Attorney

By: MM. (Wa

sus M. Casas
Assistant United States Attorney
Chief, Fort Myers Division

   
